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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No.1:08cr32-SPM

ALBERTO TRAVIESA,
and
JOSE REYES,

           Defendants.
_____________________________/


         ORDER GRANTING DEFENDANTS’ MOTION TO SUPPRESS

       This cause comes before the Court upon Defendant Reyes’ motion to

suppress (doc. 217) and Defendant Traviesa’s motion to suppress (doc. 218).

Because both motions are based on the same factual scenarios and address the

same legal issues, the Court held one consolidated hearing for both motions.

The Government filed a single reply to both motions (doc. 219). Argument by

counsel at the evidentiary hearing clarified issues presented in the initial motion

and response. Initially, Defendants believed that the Government justified their

stop of Defendants’ truck by establishing probable cause that a moving violation

had occurred. Therefore, Defendants’ motions to suppress argued that

Defendants did not commit a moving violation and the Government did not have

probable cause to stop Defendants’ truck on that basis. However, through their
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written reply and their argument in court the Government argued that a valid

traffic stop is not necessary if the officer has reasonable suspicion that

Defendants had engaged in or were about to engage in criminal activity. This

argument revealed that the basis of the stop of Defendants’ truck was the

officers’ collective reasonable suspicion. Accordingly, the Court will evaluate this

motion to suppress under the reasonable suspicion standard first articulated in

Terry v. Ohio, 392 U.S. 1 (1968).

FACTUAL BACKGROUND

       On May 15, 2008, Drug Enforcement Administration agent Wayne

Andrews received anonymous information about a power diversion at 4351 SE

138th Terrace in Marion County, Florida. At the suppression hearing, Agent

Andrews testified that a power diversion is often associated with an indoor

marijuana grow operation. After conducting trash pulls at that location, the

officers found information regarding another potential grow operation at 13202

SW 73rd Street in Ocala, Florida. Further investigation resulted in the discovery

of approximately four other locations where an indoor grow operation may have

been underway. By August 26, 2008, there were six houses under investigation

for operating marijuana grow operations. One of these locations was 6098 SW

204th Avenue, Dunnellon, Florida, in Marion County. Another location was 6550

SE 123rd Terrace, Morriston, Florida, in Levy County. This motion to suppress

primarily involves the 6550 Levy County residence.


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       Police officers and DEA agents in both Levy and Marion Counties

conducted surveillance on all the properties mentioned above. Agent Andrews

testified that there were certain characteristics common to almost all of the

houses involved in this marijuana grow operation investigation; underground

powers sources, fences surrounding the property, animals in the yard, located in

rural neighborhoods, significant land area, and owned by individuals with

Hispanic last names. Lieutenant Dykstra also testified about certain

commonalities to the houses that were under investigation. Lieutenant Dykstra

stated that they were usually mini-farms, located in rural areas, on fenced-in

properties, with gates, owned by people with Hispanic names. The 6550

residence was a mini-farm, that had livestock in the area around the house and

the barn, the entire property was fenced in, and it was owned by a man with a

Hispanic last name.

       The surveillance of the properties resulted in the application of a search

warrant for 6098 SW 24th Avenue, Dunnellon, Florida, in Marion County. The

search warrant was obtained after an air conditioner mechanic reported to law

enforcement that he saw approximately seventy marijuana plants growing inside

the 6098 residence. Later, officers saw a U-Haul truck leave the 6098 residence

and drive to a storage warehouse. The officers stopped the truck. The driver

gave the officers permission to search the truck. Inside the truck, the officers

found lights, ballasts, hydroponic equipment and a small quantity of marijuana.


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Agent Andrews testified that these materials are often used in indoor marijuana

grow operations. The officers then obtained a search warrant for the 6098

residence. Once they arrived, the officers saw evidence of a grow operation that

had been dismantled prior to the execution of the search warrant. The officers

suspected that the grow house was dismantled after the occupants realized that

the mechanic had seen the marijuana plants. Levy County officers testified at

the suppression that they were concerned that the same thing would occur at the

6550 residence.

       One of the women who was at the 6098 residence during the execution of

the search warrant told the officers that she had seen a grow operation at 4351

SE 138th Terrace, in Marion County, the residence where the officers had

previously conducted the trash pull. While conducting surveillance of the 4351

location, officers installed a generalized tracking device1 on a car that had been

seen at that residence. This car was registered to Yosnel Montejo-Garcia. The

tracking device revealed that Montejo-Garcia’s car traveled from the 4351

residence to the 6550 residence in Levy County. Additionally, the electricity in

the 6098 residence in Marion County was in the name of Yosnel Montejo-Garcia.

After learning that Montejo-Garcia’s vehicle left the 4351 residence and drove to

the 6550 residence, the Levy County officers initiated several weeks worth of

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          Agent Andrews testified that the tracking device is not able to provide a
specific address at which the car stopped or how long the car remained at a
particular location. However, the device can determine and record streets visited
and routes taken by a vehicle.
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rolling and stationary surveillance of the 6550 residence. No criminal conduct

had been observed. Agent Andrews testified that during his surveillance of the

6550 residence, he never saw Montejo-Garcia visit. Nor had Agent Andrews

ever seen Montejo-Garcia’s vehicle at the residence. The only evidence that

Montejo-Garcia had been to the 6550 residence was a computer printout

showing that on at least one occasion, Montejo-Garcia’s car had gone to the

6550 residence. Additionally, Agent Andrews could not positively testify that the

Toyota truck that was stopped had ever been at the 6550 residence. The officers

continued their investigation and surveillance of the 6550 residence.

      On or about August 26, 2008, Agent Andrews received a call from Marion

County encouraging the Levy County officers to expedite their investigation of the

6550 residence because the Marion County officers were preparing to “take

down” or execute a search warrant on the 4351 residence in Marion County.

Agent Andrews told Lieutenant Dwayne Dykstra in Levy County about the search

warrant that was going to be executed in Marion County. The Levy County

officers became concerned that the occupants of the Marion County residences

would notify the occupants of the Levy County residences and the grow

operation in the 6550 residence would be dismantled before a search warrant

could be obtained and executed.

      On August 26, 2008, Lieutenant Dwayne Dykstra was conducting his

usual stationary surveillance of the 6550 residence. Lieutenant Dykstra was


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dressed in plain clothes and was driving an unmarked vehicle. At some point

during the surveillance, Lieutenant Dykstra left his police vehicle and walked to

the fence line of the 6550 property. Lieutenant Dykstra testified that he could see

the house, a barn and two pickup trucks near the house. As he observed the

property from the fence line, he saw two trucks depart–a Ford truck and a Toyota

truck. The Toyota truck was occupied by two males, Defendants Reyes and

Traviesa. The Ford truck was occupied by one male. This motion to suppress

involves only the Toyota truck. Several Levy County officers testified at the

suppression hearing about the factual basis that supported their determination

that criminal activity was afoot.

       Lieutenant Dykstra asked Corporal Rick Rogers, who was assisting with

the stationary surveillance, but in a marked police vehicle, to follow the Ford

truck. Lieutenant Dykstra did not ask Rogers to stop the truck. Lieutenant

Dykstra testified that at the time he instructed Rogers to follow the truck, he did

not know whether the search warrant in Marion County had been executed.

Neither was he aware of any criminal activity taking place at the 6550 residence,

even when the tracked vehicle was present at the residence. Lieutenant Dykstra

testified that he had not previously seen the pickup truck at the 6550 residence.

However, Lieutenant Dykstra did know that the 6550 residence was owned by a

man with a Hispanic name.

       Corporal Rick Rogers testified that he was concerned that the people in


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the 6550 residence would start dismantling their marijuana grow operation if the

officers did not stop them. This concern and Rogers’ suspicion of the

Defendants was escalated by the possibility that the Marion County officers had

already executed the search warrant and the occupants of the Marion County

residence were communicating with the occupants of the 6550 residence.

Rogers testified that the driver of the Ford pickup truck was suspicious because

he drove very slowly and when the truck passed Rogers’ car, the driver made

eye contact with Rogers. Additionally, the trucks initially drove along the same

route, but later split up to take different routes to reach the same road. However,

during his surveillance, Rogers did not see the occupants talking on cell phones.

Rogers did not see the truck occupants load anything into the trucks. Nor did

Rogers see anything inside of the beds of the trucks as he drove by them.

Rogers was aware that the owner of the house had a Hispanic last name.

Because of their suspicious driving behavior and because of his concern about

the take down of the grow operation in Marion County, Rogers decided to stop

the Ford truck. He then asked Captain Anderson to stop the Toyota truck.2

       Captain Scott Anderson was driving in an unmarked car when he spotted

the Toyota truck. When Rogers asked Captain Anderson to stop the truck,

Captain Anderson knew that the search warrant in Marion County was about to


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         Captain Anderson testified that he was going to stop the truck anyway because
the truck turned left at a stop sign without using a turn signal, even though there were no
other vehicles in the vicinity of the Toyota truck that would have been affected by the
driver’s failure to signal.
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be executed. Captain Anderson testified that this information put pressure on

him to expedite his investigation in Levy County. Captain Anderson also knew

that the 6550 residence had been connected to the 4351 residence through the

tracking device on Montejo-Garcia's vehicle. Anderson knew that the Marion

County officers had discovered remnants of a marijuana grow operation at the

6098 residence, which is where they obtained information about the grow

operation at 4351. He also knew that the 6550 residence had been identified in a

trash pull done at the 4351 residence. However, Captain Anderson testified that

he had done prior surveillance of the 6550 residence, but he had not seen any

illegal activity there.

       The testimony from the Levy County officers is unclear as to exactly when

they knew that the search warrant had actually been executed in Marion County.

They all testified that they knew of Marion County’s intentions to execute the

search warrant, but it is not clear when, in the midst of the Levy County officers’

surveillance and stop of the Toyota truck, they found out that the search had

actually been executed. Captain Anderson testified that he had been told about

the Marion County take down by Lieutenant Dykstra. However, Lieutenant

Dykstra testified that at the time he saw the trucks leaving the 6550 residence, he

had no knowledge that the take down in Marion County had transpired. Rogers

testified that he cannot remember whether the search warrant for the Marion

County house had already been executed at the time that he stopped the Ford


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truck. Although the record on this point is muddled, the Court will evaluate the

totality of the circumstances and all of the officers’ collective knowledge at the

time that the trucks were stopped. United States v. Acosta, 363 F.3d 1141, 1145

(11th Cir. 2004). Regardless of the officers collective knowledge about the

execution of the search warrant in Marion County, it is clear that there was no

testimony that the search warrant had actually been executed, a call had been

made to the occupants of the 6550 residence, or that the occupants of 6550 were

scattering or working to dismantle any criminal activity that may have taken place

in the residence.

       The Government argues that the officer who stopped Defendants’ truck

was investigating an indoor marijuana grow operation at the residence from

which the truck was leaving. Because another house had been the subject of a

search warrant and was connected to the 6550 residence, the officers believed

that they had reasonable suspicion to stop the truck as it was departing the 6550

location. The Government then argues that upon stopping the truck and smelling

marijuana emanating from the truck, the officers had probable cause to detain

the occupants and search the vehicle. This Court finds that the officers did not

have reasonable suspicion to initially stop the truck. Therefore, this Court will not

address whether the officers then developed probable cause to detain, search

and seize.




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ANALYSIS

       The Fourth Amendment prohibits unreasonable searches and seizures.

U.S. Const. amend. 4. “A traffic stop, however, is constitutional if it is either

based upon probable cause to believe a traffic violation has occurred or justified

by reasonable suspicion” that a person is engaged, or is about to be engaged, in

criminal activity. United States v. Harris, 526 F.3d 1334, 1337 (11th Cir. 2008);

Rankin v. Evans, 133 F.3d 1425, 1435 (11th Cir. 1998). “A determination of

reasonable suspicion is based on the totality of the circumstances, and it does

not require officers to catch the suspect in a crime.” Harris, 526 F.3d at 1337

(citation and internal quotations omitted). “Instead, reasonable suspicion of

criminal activity may be formed by observing exclusively legal activity.” Id.

(citation and internal quotations omitted). Put another way, “[a] stop is supported

by reasonable suspicion if, under the totality of the circumstances and from the

collective knowledge of the officers involved in the stop, the police officers have

an objectively reasonable suspicion that someone has engaged, or is about to

engage, in a crime.” United States v. Allen, 274 Fed. Appx. 811, 818 (11th Cir.

2008) (citing United States v. Acosta, 363 F.3d 1141, 1144-45 (11th Cir. 2004)).

“Additionally, the issue is not whether the particular officer involved actually and

subjectively had the pertinent reasonable suspicion, but whether, given the

circumstances, reasonable suspicion objectively existed to justify the

investigatory stop.” Harris, 526 F.3d at 1337 (citation and internal quotations


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omitted). However, reasonable suspicion requires more than the officers’

collective “inchoate and unparticularized suspicion or ‘hunch,’” but it must be

based on “specific reasonable inferences.” Terry v. Ohio, 392 U.S. 1, 27 (1968).

Although this is a standard that is lower than probable cause, the officers must

have “at least a minimal level of objective justification for making the stop.”

Jackson v. Sauls, 206 F.3d 1156, 1165 (11th Cir. 2000) (quoting Illinois v.

Wardlow, 528 U.S. 119, 123,(2000)). Accordingly, the central question in this

motion is whether law enforcement officers had reasonable suspicion or a

minimal level of objective justification for an investigative stop of the Toyota truck

that was carrying Defendants Reyes and Traviesa.

       It is true that the officers suspected that illegal activity was taking place at

the 6550 location. However, that fact does not result in reasonable suspicion

unless the officers could have reasonably linked the Defendants to that activity

given the officers’ information at the time of the traffic stop. If so, then stopping

the truck was reasonable and consequently, constitutional. Terry, 392 U.S. at

21 (stating that in an assessment of reasonableness, “it is imperative that the

facts be judged against an objective standard: would the facts available to the

officer at the moment of the seizure or the search 'warrant a man of reasonable

caution in the belief’ that the action taken was appropriate?") (quoting Carroll v.

United States, 267 U.S. 132, 162 (1925)).

       Because the officers suspected criminal activity was being conducted


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inside of the 6550 residence, they decided to conduct surveillance on the

location. However, the mere fact that the occupants of the car emerged from a

house which was suspected of being involved in narcotics activity is insufficient to

provide reasonable suspicion that criminal activity involving these particular

Defendants was afoot. See Sibron v. New York, 392 U.S. 40, 62 (1968) (an

inference that "persons who talk to [known] narcotics addicts are engaged in the

criminal traffic in narcotics is simply not the sort of reasonable inference required

to support an intrusion by the police upon an individual's personal security”);

Brown v. Tex., 443 U.S. 47, 52 (1979) (stating that the fact that a person is alone

high crime area, engaged in behavior that “was no different from the activity of

other pedestrians in that neighborhood” is an insufficient basis for an officer’s

determination that the person himself was engaged in criminal conduct).

       There is a dearth of evidence to support reasonable suspicion that

criminal activity involving these Defendants or this truck was underway. There

was no search warrant issued for the 6550 residence or property. There was no

evidence that contraband had been moved from the house to the truck. In fact,

officers testified that as they drove by the truck, there was nothing inside the

truck bed. This was not a high crime area. The time that the Defendants were

spotted leaving the house was not in the middle of the night or in the very early

morning hours when people engaged in criminal activity may try to conceal their

actions. There is no evidence that the windows of the truck were tinted or that


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the drivers tried in any way to avoid detection. There is no evidence that the

Defendants saw the officers from the inside of the house and left in order to

evade capture. No informant contacted police and told them that criminal activity

was taking place in the 6550 residence. No informants had identified these

Defendants as people involved in criminat activity.     The connection between the

occupants of the 6550 and the occupants of the other marijuana grow operations

was tenuous, at best. Officers' testimony indicated that but for the decision by

the Marion County officers to take down another house in the investigation, the

officers would not have stopped the Defendants in the truck.

       The Government is asking the court to hold as a matter of law that a police

officer has the legal authority to make an investigative Terry stop of any car at

any time simply because the officer characterizes it as being in or coming from a

place that is suspected of criminal activity, with no additional basis for believing

that criminal activity by the occupants of that car is afoot. Though the Court is

sensitive to the need of officers to have significant investigatory power in order to

execute their mandate to investigate and prosecute crimes, this type of blanket

intrusion into a person's personal security is exactly what the Fourth Amendment

was adopted to protect.

       The Government has cited to United States v. Nunez, in which the

Eleventh Circuit reversed a finding by the District Court judge that the officers did

not have reasonable suspicion to conduct an investigatory stop of a vehicle that


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was leaving a house where there was a suspected marijuana grow operation, but

this case is factually distinguishable. 455 F.3d 1223 (11th Cir. 2006). The officer

in Nunez was instructed to “stop any cars leaving the Residence if the cars were

loaded with items from the Residence.” Id. at 1225 (emphasis added). Here,

there was no such condition placed on the instruction from Rogers to Anderson

to stop the Toyota truck. Even Lieutenant Dykstra, who was in the best vantage

point to see the trucks being loaded and then depart from the residence did not

instruct Rogers to stop the truck. He only instructed Rogers to follow it. From

the most favorable vantage point of all the officers, Lieutenant Dykstra did see

anything that gave him reasonable suspicion to stop the trucks as they left the

residence.

       Additionally, the officers in Nunez smelled growing marijuana emanating

from the residence. Id. at 1224. In this case, there was no testimony that the

officers smelled marijuana emanating from the 6550 residence before the truck

was stopped. The officers in Nunez saw people loading boxes and garbage bags

into the cars and trucks that were at the residence. Id. at 1225. Here, there is no

evidence that the trucks were being filled or loaded with anything, let alone

anything that could be considered contraband. Lastly, in Nunez, the officer who

gave the order to stop the departing vehicles had received notice that a search

warrant had been executed for the location from which the vehicles were

departing. Id. at 1225. Here, there was no search warrant application being


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made, let alone approved. In the Eleventh Circuit's reasoning, the court

specifically refers to the fact that the officer stopping the vehicles knew that

another officer “had probable cause to believe the Residence was a marijuana

grow house and that, therefore, a state judge had signed a search warrant for the

Residence.” Id. at 1226. To summarize its reasoning, the Eleventh Circuit

further stated as follows:

       That these containers were removed from a residence for which a law
       enforcement officer had probable cause to believe was a marijuana
       grow house -- while the residence was under surveillance and shortly
       before it was to be searched -- supports a reasonable suspicion that
       [the Defendants] were involved and were removing marijuana or
       related contraband from the Residence.

Id. None of these deciding factors are present in this current case. Therefore,

the olfactory inspection of the truck which was obtained pursuant to the Terry

stop was therefore illegal and will be suppressed. Any searches or evidence

resulting from the stop are consequently tainted.

       Accordingly, it is hereby ORDERED AND ADJUDGED that Defendants

Reyes and Traviesa’s motions to suppress (docs. 217 and 218) are hereby

granted. The olfactory evidence obtained by the stop of the Defendants’ truck

and any evidence proceeding therefrom shall be excluded from this case.

       DONE AND ORDERED this sixth day of May, 2009.




                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge



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